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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MALIBU MEDIA, LLC,                              §
                                                §
                  Plaintiff,                    §                5-19-CV-00834-DAE
                                                §
vs.                                             §
                                                §
JOHN DOE, INFRINGER USING IP                    §
ADDRESS 70.121.72.191;                          §
                                                §
                  Defendant.                    §
                                                §
                                                §


                                            ORDER

       Before the Court is the Motion to Compel filed by Defendant John Doe, Dkt. No. 31,

which was referred for resolution pursuant to Rules CV-72 and 1 of Appendix C of the Local

Rules of the United States District Court for the Western District of Texas. On August 11, 2020,

the Court held a hearing on the motion at which all parties appeared through counsel of record.

For the reasons stated on the record at the August 11 hearing and pursuant to the representations

in the parties’ joint advisory, Dkt. No. 42, IT IS ORDERED THAT the Motion to Compel, Dkt.

No. 31, is GRANTED IN PART, DENIED IN PART, and DISMISSED IN PART AS

MOOT as set forth herein.

       Within twenty-one (21) days from the date of this Order, Plaintiff Malibu Media shall

provide Defendant Doe with the total number of settlement agreements it has entered into with

respect to the copyrights at issue in this litigation. Plaintiff Malibu Media shall also provide

Defendant Doe the aggregate amount paid in connection with those settlements. Defendant

Doe’s request for production of each settlement agreement is DENIED, as stated on the record.

       Doe’s request for sanctions is DENIED.

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The remaining requests to compel raised by Doe’s motion are DISMISSED AS MOOT.

All other relief not expressly granted herein is DENIED.

IT IS SO ORDERED.

SIGNED this 17th day of August, 2020.




                             RICHARD B. FARRER
                             UNITED STATES MAGISTRATE JUDGE




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